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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   SAMUEL WONG
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2772
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 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
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                                 )
11   UNITED STATES OF AMERICA,   )     NO. 2:11-CR-076 LKK
                                 )
12                  Plaintiff,   )     ORDER VACATING TRIAL DATE,
                                 )     EXCLUDING TIME UNDER SPEEDY TRIAL
13        v.                     )     ACT, AND SETTING FURTHER STATUS
                                 )     CONFERENCE DATE
14   CRESENCIO DELGADO-EZQUIVEL, )
     et al.,                     )     Court:    Hon. Lawrence K. Karlton
15                               )
                    Defendants. )
16                               )
     ___________________________ )
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          On September 6, 2012, the parties appeared before the Court
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     for a trial confirmation hearing.      Assistant United States
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     Attorney Samuel Wong appeared on behalf of plaintiff United
21
     States of America.   Assistant Federal Defender Douglas Beevers
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     appeared with defendant Crescencio Delgado-Ezquivel.         Dwight
23
     Samuel, Esq., appeared with his client, defendant Victor
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     Gonzalez, and specially for attorney Dina Santos, Esq., on behalf
25
     of defendant Waldo Perez-Mendoza.      Michael Hansen, Esq., appeared
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     with his client, defendant Norma Gonzalez.        Danny Brace, Esq.,
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     appeared with his client, defendant Armando Vasquez-Barragan.
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 1        The parties jointly requested that the Court vacate the
 2   presently set October 2, 2012, to provide the parties additional
 3   time to:   (1) obtain an updated and revised pre-plea presentence
 4   report for defendant Delgado-Ezquivel that encompasses both of
 5   the criminal cases presently charged against him so that he can
 6   intelligently decide his course of action in this case, to wit:
 7   pretrial settlement or trial; and (2) allow defendant Victor
 8   Gonzalez’s expert to retest and reweigh Drug Exhibit No. 5, which
 9   scientific test results are critical to Victor Gonzalez’s
10   defense.   The parties requested and agreed that:        (1) the Court
11   hold a status conference on October 2, 2012, at 9:15 a.m.; and
12   (2) the time period from the September 6, 2012, hearing to, and
13   including, the new status conference hearing October 2, 2012,
14   shall be excluded from computation of time within which the trial
15   of this case must be commenced under the Speedy Trial Act, 18
16   U.S.C. § 3161(h)(7)(A) and (B)(iv), and Local Code T4.
17        Based on the representations and stipulations of the
18   parties, and good cause appearing therefrom, the Court vacates
19   the presently set October 2, 2012, trial date and sets a new
20   status conference hearing on October 2, 2012, at 9:15 a.m.            The
21   Court orders that time from September 6, 2012, to, and including,
22   October 2, 2012, shall be excluded from computation of time
23   within which the trial of this case must be commenced under the
24   Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), and
25   Local Code T4 pertaining to defense preparation.
26        The Court finds that the failure to grant a continuance in
27   this case would deny defense counsel reasonable time necessary
28   for effective preparation, taking into account the exercise of

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 1   due diligence.   The Court finds that the ends of justice to be
 2   served by granting the requested continuance outweigh the best
 3   interests of the public and the defendants in a speedy trial.
 4        It is so ordered.
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 6   Dated: September 17, 2012
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